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                                UNITED STATES DISTRICT COURT
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                               WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
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10
        UNITED STATES OF AMERICA,                            CASE NO. CR22-0143-LK
11
                               Plaintiff,                    ORDER GRANTING UNOPPOSED
12              v.                                           MOTION TO CONTINUE TRIAL
                                                             DATE
13      LUKE ST. MARIE,
14                             Defendant.

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16          This matter comes before the Court on Defendant Luke St. Marie’s Unopposed Motion to

17   Continue Trial Date and Pretrial Motions Deadline, Dkt. No. 15, as well as his Speedy Trial

18   Waiver, Dkt. No. 15-2. On September 7, 2022, a federal grand jury indicted Mr. St. Marie on four

19   counts of Distribution of a Controlled Substance. Dkt. No. 1 at 1–2; see 21 U.S.C. § 841(a)(1). Mr.

20   St. Marie pleaded not guilty to all counts and is currently scheduled to be tried before a jury on

21   November 21, 2022. Dkt. No. 6.

22          Defense counsel seeks to continue trial to June 12, 2023 because “[t]he charges in this

23   matter are very serious” and he needs “a significant amount of time to adequately complete the

24   discovery review, investigate the case, prepare motions and prepare for trial.” Dkt. No. 15 at 2.


     ORDER GRANTING UNOPPOSED MOTION TO CONTINUE TRIAL DATE - 1
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 1   Mr. St. Marie avers that he understands his rights under the Speedy Trial Act and states that “[a]fter

 2   consulting with my attorney,” he “agree[s] to waive [his] right to a speedy trial through June 30,

 3   2023 and assent to the Court scheduling trial on any date prior to that date.” Dkt. No. 15-2 at 1.

 4           Pursuant to 18 U.S.C. § 3161(h)(7)(A), the Court finds that the ends of justice served by

 5   granting a continuance outweigh the best interest of the public and Mr. St. Marie in any speedier

 6   trial. Specifically, the Court finds that failure to grant the requested continuance would likely result

 7   in a miscarriage of justice and would deny defense counsel the reasonable time necessary for

 8   effective preparation, taking into account the exercise of due diligence, due to counsel’s need for

 9   more time to investigate the matter, to gather evidence material to the defense, to consider possible

10   defenses, and to prepare for trial. See 18 U.S.C. § 3161(h)(7)(B)(i), (iv). The Court also finds that

11   the additional time requested is a reasonable period of delay and will be necessary to provide

12   counsel and Mr. St. Marie reasonable time to accomplish these tasks.

13           For these reasons, the Court GRANTS Mr. St. Marie’s Unopposed Motion to Continue

14   Trial Date and Pretrial Motions Deadline, Dkt. No. 15, and ORDERS that trial shall be continued

15   from November 21, 2022 to June 12, 2023. It is further ORDERED that, pursuant to 18 U.S.C.

16   § 3161(h)(7)(A) and (B), the period of delay from the original November 21, 2022 trial date to the

17   new trial date is EXCLUDED when computing the time within which Mr. St. Marie’s trial must

18   commence under the Speedy Trial Act. Pretrial motions are due no later than May 1, 2023.

19           Dated this 6th day of October, 2022.

20
                                                             A
21                                                           Lauren King
                                                             United States District Judge
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     ORDER GRANTING UNOPPOSED MOTION TO CONTINUE TRIAL DATE - 2
